Case 3:11-cv-05479-ZNQ-JBD             Document 654         Filed 03/30/20      Page 1 of 3 PageID:
                                            12129



                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


   IN RE EFFEXOR XR ANTITRUST
   LITIGATION

                                                       Master Docket No. 3:11-cv-05479 (PGS/LHG)
   THIS DOCUMENT RELATES TO:

   ALL CASES


                 STIPULATION OF VOLUNTARY DISMISSAL
    OF DIRECT PURCHASER PLAINTIFF PROFESSONAL DRUG COMPANY, INC.

        IT IS HEREBY STIPULATED AND AGREED by and between the undersigned parties

 and their respective counsel that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), plaintiff Professional

 Drug Company, Inc. voluntarily dismisses all claims asserted in this multidistrict litigation without

 prejudice.


 Dated: March 30, 2020

s/ Liza M. Walsh                                 s/ Peter S. Pearlman
Liza M. Walsh                                    Peter S. Pearlman
Eleonore Ofosu-Antwi                             COHN LIFLAND PEARLMAN HERRMANN & KNOPF LLP
                                                 Park 80 Plaza West-One
WALSH PIZZI O’REILLY FALANGA LLP                 250 Pehle Avenue, Suite 401
One Riverfront Plaza | 1037 Raymond Blvd.,       Saddle Brook, NJ 07663
6th Floor | Newark, NJ 07102                     (201) 845-9600
(973) 757-1100                                   psp@njlawfirm.com
lwalsh@walsh.law
                                                 Direct Purchaser Class Plaintiffs Liaison Counsel




                                                   1
Case 3:11-cv-05479-ZNQ-JBD        Document 654     Filed 03/30/20    Page 2 of 3 PageID:
                                       12130



Robert A. Milne                           Thomas M. Sobol
Raj Gandesha                              Gregory T. Arnold
Bryan Gant                                HAGENS BERMAN SOBOL SHAPIRO LLP
                                          55 Cambridge Parkway, Suite 301
Dimitrios Drivas                          Cambridge, MA 02142
Sheryn George                             (617) 482-3700
WHITE & CASE LLP                          tom@hbsslaw.com
1221 Avenue of the Americas               grega@hbsslaw.com
New York, New York 10020
(212) 819-8200                            Don Barrett
                                          Brandi Hamilton
                                          BARRETT LAW GROUP, P.A.
John F. Baughman                          404 Court Square
Yahonnes Cleary                           P.O. Box 927
Farrah R. Berse                           Lexington, MS 39095
PAUL, WEISS, RIFKIND, WHARTON &           (662) 834-2628
GARRISON LLP                              dbarrett@barrettlawgroup.com
1285 Avenue of the Americas               bhamilton@barrettlawgroup.com
New York, NY 10019                        Counsel for plaintiff Professional Drug Company,
Telephone: (212) 373-3000                 Inc.
Facsimile: (212) 757-3990

Counsel for Defendants Wyeth LLC, Wyeth
Pharmaceuticals, Inc., Wyeth-Whitehall
Pharmaceuticals LLC, and Wyeth
Pharmaceuticals Company

/s/ Brian English__
William H. Trousdale
Brian M. English
Tompkins, McGuire, Wachenfeld & Barry
LLP
3 Becker Farm Road, Fourth Floor
Roseland, New Jersey 07068-1726
Tel. (973) 622-3000
Fax (973) 623-7780
wtrousdale@tompkinsmcguire.com
benglish@tompkinsmcguire.com




                                           2
Case 3:11-cv-05479-ZNQ-JBD       Document 654   Filed 03/30/20   Page 3 of 3 PageID:
                                      12131



Devora W. Allon, P.C.
KIRKLAND & ELLIS LLP
601 Lexington Avenue
New York, NY 10022
Tel. (212) 446-4800
Fax (212) 446-4900
devora.allon@kirkland.com

Karen N. Walker, P.C.
Alexeandra I. Russell
Gavin R. Tisdale
1301 Pennsylvania Avenue, N.W.
Washington, D.C. 20005
Tel (202) 879-5000
Fax (202) 389-5200
karen.walker@kirkland.com
alexander.russell@kirkland.com
gavin.teisdale@kirkland.com

Counsel for Defendants Teva
Pharmaceuticals USA, Inc. and Teva
Pharmaceutical Industries Ltd.




                                         3
